FORM notthrg


                          UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF ARIZONA

In re:                                                      Case No.: 0:19−bk−11236−PS

   TODD MICHAEL MCLAUCHLAN                                  Chapter: 7
   2010 DEER RUN PL
   LAKE HAVASU CITY, AZ 86404
   SSAN: xxx−xx−3166
   EIN:

Debtor(s)


                                 NOTICE OF TELEPHONIC HEARING
A hearing in the above−captioned case will be held on 3/3/22 at 10:00 AM before the Honorable Paul Sala. Any
interested party is to appear by telephone. Interested parties are to call 877−402−9757 to appear for the hearing. The
access code is 4376956. The Honorable Paul Sala will consider and/or act upon the following matter(s) at the
hearing:

STATUS HEARING




Date: February 4, 2022

Address of the Bankruptcy Clerk's Office:                   Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                           George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
www.azb.uscourts.gov




         Case 0:19-bk-11236-PS        Doc 133 Filed 02/04/22 Entered 02/04/22 13:16:30                      Desc
                                      Notice of Tel Hearing Page 1 of 1
